' Case 5:24-cr-00362-SLP Document 14-3 Filed 09/05/24 Pageiofi1

CRIMINAL COVERSHEET S [ P
U.S. District Court, Western District of Oklahoma

Petty[_| Misdemeanor L] Felony lV USAO No.: Case GR 2 4 ” 362

Charging Document: Indictment No. of Defendants: 3 Total No.of Counts: 11 Sealed: Y [/]
Forfeiture: Y[_] OCDETF:y[_] McGirt: ¥ [| Warrant [¥] Summons[_| Notice[_] NL]
N |¥] N/V N lv] Companion Case No. (if any):
DEFENDANT INFORMATION: By:_DR
Name: GERARDO DANIEL HERRERA SEP 05 2024
Alias(es): Address:
FBI No.:
DOB: 2002 SSN: KXK-XX-5222 Race: White Interpreter: Y [J N lV]
Sex: M F [| Juvenile: Y [| N [Vv] Language/Dialect: English
PRIOR MAGISTRATE
DEFENDANT STATUS/RECOMMENDATION: JUDGE PROCEEDINGS:
[V1 Not in Custody [v! Detention Requested | Complaint: Y [ | N lV
L Type of Bond: Magistrate Judge Case No.: MJ-
[| In Custody at:
Inmate/Prisoner/Register No.: Previously Detained: [_| NIv]
ATTORNEY/AGENCY INFORMATION:
[_] Public Defender| Name: AUSA: _ Drew E. Davis
Address:
LJ CJA Panel Agent /Agency: ATF
[| Retained
Phone: Local Officer/Agency:
CHARGING DETAILS
Count(s) U.S.C. Citation(s) Offense(s) Charged Penalty
9 18 U.S.C. § 922(2)(3) Drug User in Possession of a Firearm 18 U.S.C. § 924(a)(8) - NMT 15 years imprisonment;

$250,000 fine, or both; NMT 3 years S/R; $100 S/A

RECEIVED

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Clerk, U.S. District Court
WEST.DIST.OF OKLA.

Signature of AUSA: Drew E. Davis Date: 99/05/2024

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